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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                      )
    PETER P. STRZOK,                                  )
                                                      )
                  Plaintiff,                          )
                                                      )      Case No. 1:19-cv-2367 (ABJ)
           v.                                         )
                                                      )
    ATTORNEY GENERAL MERRICK B.                       )
    GARLAND, in his official capacity, et al.,        )
                                                      )
                  Defendants.                         )
                                                      )
                                                      )
                                                      )
    LISA PAGE,                                        )
                                                      )
                  Plaintiff,                          )
                                                      )      Case No. 1:19-cv-3675 (TSC)
           v.                                         )
                                                      )
    U.S. DEPARTMENT OF JUSTICE, et al.,               )
                                                      )
                  Defendants.                         )
                                                      )

                                    JOINT STATUS REPORT

          Pursuant to the Court’s request of September 8, 2023, the parties respectfully submit this

Joint Status Report on the conclusion of discovery and their intention to file a further status report

by November 3, 2023.1




1
  The above-captioned cases have been consolidated for purposes of discovery. The parties in
Civil Action No. 19-2367 (ABJ) are Plaintiff Peter Strzok and Defendants U.S. Department of
Justice (“DOJ”); Federal Bureau of Investigation (“FBI”); Attorney General Merrick Garland, in
his official capacity; and FBI Director Christopher A. Wray, in his official capacity. The parties
in Civil Action No. 19-3675 (TSC) are Plaintiff Lisa Page and Defendants DOJ and FBI.
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       Plaintiffs took Mr. Trump’s deposition on October 17, 2023. Subject to supplementation

pursuant to Federal Rule of Civil Procedure 26(e),2 discovery has concluded.

       The parties have begun conferring about next steps in the case and anticipate submitting a

further report to the Court by November 3, 2023 setting forth their joint or respective positions on

whether mediation would be productive, proposed format and timing for summary judgment

motions, the continued consolidation of these cases, and any other matters that may be pertinent.




2
  In addition to supplementation pursuant to Rule 26, Mr. Strzok may notice de bene esse
depositions, depending on the availability of witnesses for trial. Defendants reserve the right to
oppose further depositions as outside the discovery period and beyond the scope authorized by the
Federal Rules of Civil Procedure. See, e.g., Fed. R. Civ. P. 32.


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Dated: October 23, 2023                            Respectfully submitted,


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                                                   counsel for Lisa Page




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